          Case 5:21-mc-00104-gwc Document 4 Filed 09/28/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

                                                   )
IN RE:                                             )
NONJUDICIAL CIVIL FORFEITURE                       )        Misc. No.: 5:21-mc-104
PROCEEDING                                         )
                                                   )


        ORDER EXTENDING TIME TO FILE COMPLAINT FOR FORFEITURE
          AND/OR TO OBTAIN INDICTMENT ALLEGING FORFEITURE

       The United States having applied to the Court, pursuant to 18 U.S.C. § 983(a)(3)(A), for

an order extending, to and through November 29, 2021, the time in which the United States may

file a complaint for forfeiture and/or obtain an indictment alleging forfeiture with respect to certain

property against which the United States Bureau of Alcohol, Tobacco, Firearms and Explosives

(“ATF”) initiated nonjudicial civil forfeiture proceedings and to which Matthew Fidler asserted an

interest, to wit, $5,566.00, more or less, in United States currency that ATF seized from Fidler

during his arrest in South Burlington, on February 12, 2021 (the “Subject Property”); and

       The United States having represented to the Court as follows:

       1. In accordance with 18 U.S.C. § 983(a)(1)(A), ATF provided written notice of its intent

           to forfeit the Subject Property to all known interested parties;

       2. On or about April 25, 2021, ATF received from Matthew Fidler a claim in which Fidler

           asserted an interest in the Subject Property;

       3. No other person has filed a claim to the Subject Property or asserted any interest therein

           and, pursuant to 18 U.S.C. § 983(a)(2), the time for doing so has expired;

       4. Matthew Fidler has agreed and consented to the relief requested by the United States,

           to wit, an order extending, to and through November 29, 2021, the time in which the
          Case 5:21-mc-00104-gwc Document 4 Filed 09/28/21 Page 2 of 2




           United States may file a complaint for forfeiture against the Subject Property and/or

           obtain an indictment alleging that the Subject Property is subject to forfeiture; and

       5. The United States seeks the requested relief in order to permit the parties sufficient

           time in which to potentially resolve this matter without protracted litigation; and

       The Court being expressly authorized, pursuant to 18 U.S.C. § 983(a)(3)(A), to extend,

upon agreement of the parties, the time in which the United States may file a complaint for

forfeiture against the Subject Property and/or obtain an indictment alleging that the Subject

Property is subject to forfeiture;

       IT IS HEREBY ORDERED, pursuant to 18 U.S.C. § 983(a)(3)(A), that the date by which

the United States may file a complaint for forfeiture against the Subject Property and/or obtain an

indictment alleging that the Subject Property is subject to forfeiture is extended to and through

November 29, 2021.


       Dated at Buffalo, in the Western District of New York, this 28th day of September, 2021.



                                              /s/ Geoffrey W. Crawford
                                             ________________________________________
                                             Chief Judge, U.S. District Court




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